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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 MICHIGAN DEPARTMENT OF
 ENVIRONMENTAL QUALITY,

        Plaintiff,                                                   Case No. 1:18-cv-39

 and                                                                 HON. JANET T. NEFF

 PLAINFIELD CHARTER TOWNSHIP, et al.

        Intervenors-Plaintiffs,

 v.

 WOLVERINE WORLD WIDE, INC.,

       Defendant.
 ________________________________/

 WOLVERINE WORLD WIDE, INC.,

        Third-Party Plaintiff,

 v.

 3M COMPANY,

        Third-party Defendant.
 ____________________________/

                                             ORDER

       This case is scheduled for a Summary Jury Trial on November 13, 2019 on the topic of the

appropriate remedy for the House Street area water contamination at issue in this case, i.e., whole-

house filters or extension of the municipal water supply (see 7/26/19 Order, ECF No. 107). The

parties have filed a Joint Notice (ECF No. 122), indicating that despite their participation in

mediation, they were unsuccessful in resolving any of the remedy issues. Accordingly, pursuant

to the Court’s July 26, 2019 Order, the Court issues the following List of Considerations for
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